Case 2:14-cv-06311-MWF-PLA Document 101 Filed 03/14/16 Page 1 of 3 Page ID #:1532



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    8   and JOHN VAN ES
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   10
                                 UNITED STATES DISTRICT COURT
   11
                               CENTRAL DISTRICT OF CALIFORNIA
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   14   OSIE MARSHALL, YASNA                             Case No. 14-cv-06311-MWF (PLAx)
        CUEVAS, and JOHN VAN ES, on
   15   behalf of themselves and others                  PLAINTIFFS’ STATEMENT
        similarly situated,                              REGARDING RENEWAL OF
   16                                                    MOTION FOR PRELIMINARY
                              Plaintiffs,                APPROVAL
   17
               v.
   18                                                    Hon. Michael W. Fitzgerald
        MONSTER ENERGY COMPANY,
   19   D/B/A HANSEN BEVERAGE                            Courtroom 1600
        COMPANY, AND DOES 1
   20   THROUGH 50, INCLUSIVE,
   21                         Defendant.
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        PLAINTIFFS’ STATEMENT RE RENEWAL OF MOTION FOR PRELIMINARY APPROVAL
        CASE NO. 14-cv-06311-MWF(PLAx)
Case 2:14-cv-06311-MWF-PLA Document 101 Filed 03/14/16 Page 2 of 3 Page ID #:1533



    1          On February 29, 2016, the Court denied Plaintiffs’ motion for preliminary
    2   approval of a class settlement. [ECF No. 95.] The Court provided Plaintiffs until
    3   March 14, 2016, to file a renewed motion.
    4          The parties have been unable to reach an agreement on an amended class
    5   settlement. Consequently, Plaintiffs will not file a renewed motion for preliminary
    6   approval.
    7

    8   Dated: March 14, 2016                               COUNSELONE, PC
    9

   10                                               By: /s/ Justin Kachadoorian
                                                            Justin Kachadoorian
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                                                              Attorneys for Plaintiffs Osie
   12                                                         Marshall, John Van Es, and
                                                              Yasna Cuevas
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        PLAINTIFFS’ STATEMENT RE RENEWAL OF MOTION FOR PRELIMINARY APPROVAL
        CASE NO. 14-cv-06311-MWF(PLAx)                                                        1
Case 2:14-cv-06311-MWF-PLA Document 101 Filed 03/14/16 Page 3 of 3 Page ID #:1534



    1                                CERTIFICATE OF SERVICE
    2          The undersigned hereby certifies that on the 14th day of March, 2016 the
    3   foregoing document was filed electronically on the CM/ECF system, which caused
    4   all CM/ECF participants to be served by electronic means.
    5

    6   Dated: March 14, 2016                               COUNSELONE, PC
    7

    8                                               By: /s/ Justin Kachadoorian
                                                            Justin Kachadoorian
    9
                                                              Attorneys for Plaintiffs Osie
   10                                                         Marshall, John Van Es, and
                                                              Yasna Cuevas
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        PLAINTIFFS’ STATEMENT RE RENEWAL OF MOTION FOR PRELIMINARY APPROVAL
        CASE NO. 14-cv-06311-MWF(PLAx)                                                        2
